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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
WEST PALM BEACH DIVISION
NO. 24-CR-80074-DMM-1
UNITED STATES OF AMERICA,
V.

JUSTIN BLAIR,

Defendant.
/

AGREED FACTUAL BASIS FOR GUILTY PLEA

Beginning in or around July 2021 and continuing through in or around March 2022, in
Palm Beach County, the Southern District of Florida, and elsewhere, the defendant, JUSTIN
BLAIR (“BLAIR”), knowingly and willfully conspired and agreed with his co-conspirators,
including Trevor Blair, and others, to (1) defraud the United States by impairing, impeding, and
defeating through deceitful and dishonest means, the lawful government functions of the U.S.
Department of Health and Human Services and the Centers for Medicare and Medicaid Services
in their administration and oversight of Medicare, and to solicit and receive illegal health care
kickbacks, in violation of Title 18, United States Code, Section 371; and (2) solicit and receive
kickbacks in connection with a federal health care program, in violation of Title 42, United States
Code, Section 1320a-7b(b)(1)(A).

Medicare is a “health care benefit program” as defined in Title 18, United States Code,
Section 24 and a Federal health care program, as defined by Title 42, United States Code, Section
1320a-7b(f). Furthermore, Medicare is a health care benefit program affecting commerce.

BLAIR was a co-owner and operator of P.I.C. GROUP 21, LLC (‘PIC GROUP”), which
was a purported marketing company with its principal place of business in Palm Beach County,

Florida. BLAIR and his co-conspirators formed PIC GROUP to circumvent a federal investigation
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after federal agents executed a search of another company, a call center in which BLAIR invested
and that solicited Medicare beneficiaries to accept medically unnecessary genetic tests that were
ultimately billed to Medicare.

BLAIR solicited and received kickbacks from Alliance, DX LLC (“the Lab”) in exchange
for recruiting and referring Medicare beneficiaries, with completed doctors’ orders for cardio
genetic testing, knowing that the Lab would bill Medicare for cardio genetic testing purportedly
provided to the recruited beneficiaries. The Lab paid PIC GROUP approximately $1,500 for each
referral of a beneficiary with a completed doctor’s order for cardio genetic testing.

PIC GROUP executed a sham contract with the Lab for the purpose of concealing the true
nature of the Lab’s payments to PIC GROUP, which consisted of kickbacks based on the volume
of referrals from PIC GROUP and not the flat-fee payment described in the contract. The Lab
paid kickbacks and/or bribes to PIC GROUP by means of bank transfers or wires. PIC GROUP
then transferred a portion of these kickback proceeds to, among other individuals and entities, JB
GLOBAL MARKETING LLC, a Florida limited liability company controlled by BLAIR. BLAIR
used these proceeds for his personal use and benefit, the use and benefit of others, and to further
the conspiracy.

On or about September 16, 2021, BLAIR solicited and received a kickback payment of
$261,000 from the Lab based on the volume of referrals made by PIC GROUP. Through this
payment and others continuing through on or about March 2, 2022, PIC GROUP received a total
of approximately $2,515,000 in kickbacks and/or bribes from the Lab. As a result of BLAIR’s
participation in the conspiracy, the Lab submitted claims to Medicare totaling approximately

$3,726,236.13 for medically unnecessary cardio genetic testing, and Medicare paid the Lab
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approximately $3,341,144.11 it was not entitled to receive because the Lab had procured the
referrals for beneficiaries’ tests through illegal kickbacks, BLATR was aware of the Anti-Kickback
Statute and understood that the payments PIC GROUP received from the Lab in exchange for the
volume of Medicare beneficiaries’ cardio genetic testing referrals were illegal kickbacks.

The preceding statement is a summary made for the purpose of providing the Court with a
factual basis for my guilty plea to the charges against me. It does not include all of the facts known
to me concerning criminal activity in which I and others engaged. I make this statement knowingly

and voluntarily and because J am in fact guilty of the crimes charged.

DATE: n(ulay (ioe. Wha
JOSTIN BLAIR
Defendant

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CHRISTOPHER HADDAD, ESQ.
Attorney for Defendant

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OWEN DUNN
DARREN HALVERSON
Trial Attorneys

